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Exhibit 5
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BP’S INITIAL PROPOSAL REGARDING CLAIM NO. 1779

INTRODUCTION

BP Exploration & Production Inc. (“BP”) respectfully submits this Memorandum in
Support of its Initial Proposal with regard to the appeal of Claim No. 1779 (Claimant Rocon
Inc.).

Claimant in this appeal is a construction company located in Mobile, Alabama
specializing in the maintenance and rehabilitation of roads, bridges, highways and civil cite work
projects. The Settlement Program awarded Claimant $142,576.07 in pre-RTP lost profit
($150,049.87 post-RTP).

BP files this appeal because the Settlement Program erred in its calculation of the
Claimant’s Award Amount by failing to apply financial data corrections to the periods in which
the financial data reporting errors occurred. BP submits an Initial Proposal of $130,000 pre-
RTP.

EXPLANATION OF BP’S POSITION

A. The Settlement Agreement’s Business Economic Loss Framework

The BEL Framework provides negotiated methodologies for evaluating (1) whether any
purported losses were caused by the Deepwater Horizon Spill and (2) if so, the amount of the
losses. The methodologies for evaluating causation and compensation both involve the
comparison of claimant’s performance before and after the Spill on a monthly basis and thus
require the accurate and consistent reporting of pre-Spill and post-Spill monthly performance

data from both an economic and financial perspective.

"To the extent these issues are addressed by any of the Court’s prior orders, they are appealed
solely for purposes of preserving further rights of appeal. BP respectfully refers the Appeals
Panel to the Court’s prior orders.

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To determine whether a claimant in Zone D, such as this Claimant, established causation,
one test which the Settlement Program applies is the “V-Shaped Revenue Pattern” test set forth
in Exhibit 4B, Section JIJ.A. In order to pass this test, a Claimant must establish:

e “a decline of an aggregate of 15% or more in total revenues over a period of three
consecutive months between May-December 2010 compared to the same months
in the Benchmark Period selected by the claimant; and

e An increase of an aggregate of 10% or more in total revenues over the same
period of three consecutive months in 2011 compared to 2010.”

Settlement Agreement, Ex. 4B, Sec. IJI.A. Because the V-test turns on changes in monthly
revenue over time, it is essential that the financial data used as an input for the test properly
measure revenue generated during the relevant months. Misapplication of revenue, including
failure to attribute revenue to the months in which the revenue was earned, would render the test
meaningless. Other causation tests likewise depend on the proper application of revenue.

If a claimant passes one of the applicable causation tests, the Settlement Program then
calculates whether the claimant incurred any loss, which ts defined as a reduction in monthly
variable profit, and, if so, the appropriate amount of compensation. Compensation is measured
by determining the amount of decrease in the claimant’s variable profits in defined months
before and after the Spill. The Settlement Agreement instructs that variable profits are to be
calculated as follows:

1. Sum the monthly revenue over the period.

2. Subtract the corresponding variable expenses from revenue over the same time period.
Settlement Agreement, Ex. 4C, p.2 (emphasis added). The use of variable profit to measure the

compensation amount puts a premium on determining in which months revenue was earned and

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subtracting the variable expenses incurred in generating the revenue. If the data entered into the
methodology does not assign revenue to the correct months and/or does not properly subtract
variable costs, it is impossible to accurately measure variable profit.

The BEL Framework documentation requirements underscore that: (1) the relevant
measurement unit is the month; (2) P&Ls must therefore be accurate on a monthly basis; and (3)
the accuracy of the monthly P&Ls is to be verified by reference to annual data and/or source
materials. Specifically, Exhibit 4A, Section 4 requires “Monthly and annual profit and loss
statements” or “alternate source documents establishing monthly revenues and expenses for the
claimed Benchmark Period.” Settlement Agreement, Ex. 4A, Sec. 4 (emphasis added). That
same language makes clear that annual P&L and tax information is required in order to permit
the Settlement Program to confirm the accuracy of the monthly P&L data and to identify
apparent anomalies in that data. If such anomalies are identified, the Settlement Program is to
exercise its discretion to “request source documents for profit and loss statements” so that it may
resolve such anomalies and be assured that it is using accurate monthly P&L data. Id.

B. The Settlement Program Failed to Apply Financial Data Corrections To The
Periods In Which The Financial Data Reporting Errors Occurred

Claimant’s financial data reflects end-of-year corrections, recroded in October of every
year, involving bad debt expenses. For instance, Claimant recorded $8,753.00 in October 2008,
$78,454.27 in October 2009, and $6,143.25 in October 2010. Claimant’s fiscal year is from
November through October, and no bad debt expenses were recorded in any months other than
October. As such, these expenses are almost certainly end-of-year corrections for prior
overstatements of revenue or understatements of expenses.

Under the terms of the Settlement Agreement, which seek to measure changes in actual

economic performance, such corrections must be applied to the months in which the errors that

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are now being corrected occurred. Otherwise, the calculation will be performed with data that
does not reflect actual financial performance and the results will be flawed. The Settlement
Program erred in relying on data that fails to make this necessary correction.

Accordingly, BP makes an Initial Proposal of $130,000 pre-RTP.

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